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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY



 IN RE: JOHNSON & JOHNSON TALCUM                   MDL No. 2738 (MAS) (RLS)
 POWDER PRODUCTS MARKETING,
 SALES PRACTICES, AND PRODUCTS                     COMPLAINT AND JURY DEMAND
 LIABILITY LITIGATION

                                                   Civil Action No.: _____________
 This Document Relates to:

 Nancy Lee Cummings and Jeff Cummings,
 h/w v. Johnson & Johnson, et al.


                                 SHORT FORM COMPLAINT
                                   AND JURY DEMAND

       The Plaintiff(s) named below file(s) this Short Form Complaint and Demand for Jury Trial

against Defendants named below by and through the undersigned counsel. Plaintiff(s)

incorporate(s) by reference the allegations contained in Plaintiffs’ Master Long Form Complaint

in In re: Talcum Powder Products Marketing, Sales Practices, and Products Liability Litigation,

MDL No. 2738 in the United States District Court for the District of New Jersey. Plaintiff(s) file(s)

this Short Form Complaint as permitted by Case Management Order No. 1 of this Court.

       In addition to those causes of action contained in Plaintiffs’ Master Long Form Complaint,

where certain claims require specific pleadings and/or amendments, Plaintiff(s) shall add and

include them herein.

                               IDENTIFICATION OF PARTIES

       Identification of Plaintiff(s)

1.     Name of individual injured due to the use of talcum powder product(s): Nancy Lee

       Cummings.

2.     At the time of the filing of the specific case, Plaintiff(s) is/are a citizen of Sevier County,
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      City of Monroe, Utah.

3.    Consortium Claim(s): The following individual(s) allege damages for loss of consortium:

              Jeff Cummings.

4.    Survival and/or Wrongful Death Claims:

      Name and residence of Decedent Plaintiff when she suffered the talcum powder product(s)

      related death: N/A

5.    Plaintiff/Decedent was born on 9/22/1962 and died on N/A.

6.    Plaintiff is filing this case in a representative capacity as the N/A.

      of the N/A, having been duly appointed as N/A the by the Court of N/A.

7.    As a result of using talcum powder products, Plaintiff/Decedent suffered personal and

      economic injur(ies) that are alleged to have been caused by the use of the products

      identified in Paragraph 16 below, but not limited to, the following:

      ☒ injury to herself

      ☐ injury to the person represented

      ☐wrongful death

      ☐survivorship action

      ☒ economic loss

      ☒loss of services

      ☒loss of consortium

      ☐other:

      Identification of Defendants


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8.       Plaintiff(s)/Decedent Plaintiff(s) is/are suing the following Defendant(s) (please check all

         that apply)1:

         ☒ Johnson & Johnson

         ☒ Johnson & Johnson Consumer Inc.

         ☐ Imerys Talc America, Inc. (“Imerys Talc”)

         ☐ Personal Care Products Council (“PCPC”)

         Additional Defendants:

         ☒ Other(s) Defendant(s) (please specify): LTL Management, LLC.; Kenvue, Inc.; Johnson

& Johnson Holdco (NA) Inc.; Janssen Pharmaceuticals, Inc.

                                        JURISDICTION & VENUE

         Jurisdiction:

9.       Jurisdiction in this Short Form Complaint is based on:

         ☒ Diversity of Citizenship

         ☐ Other (The basis of any additional ground for jurisdiction must be pled in sufficient

         detail as required by the applicable Federal Rules of Civil Procedure).

         Venue:

10.      District Court(s) and Division (if any) in which venue was proper where you might have

         otherwise filed this Short Form Complaint absent the direct filing Order entered by this

         Court and to where remand could be ordered by the Judicial Panel for trial:


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  If additional Counts and/or Counts directed to other Defendants are alleged by the specific Plaintiff(s) as to whom
this Short Form Complaint applies, the specific facts supporting these allegations must be pleaded by the Plaintiff(s)
in a manner complying with the requirements of the Federal Rules of Civil Procedure, and the Defendants against
whom they are alleged must be specifically identified on a separate sheet of paper attached to this Short Form
Complaint.
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                   United States District Court for the District of New Jersey.



                                    CASE SPECIFIC FACTS

11.    Plaintiff(s) currently reside(s) in (City, State):

                                            Monroe, Utah.

12.    At the time of the Plaintiff’s/Decedent’s diagnosis with a talcum powder product(s) injury,

       Plaintiff/Decedent resided in (City, State):

                                            Monroe, Utah.

13.    The Plaintiff/Decedent was diagnosed with a talcum powder product(s) injury in

       (City/State): Salt Lake City, Utah on or about April 2021.

14.    To the best of Plaintiff’s knowledge, Plaintiff/Decedent began using talcum powder

       product(s) on or about the following date: 1962 and continued the use of talcum powder

       product(s) through about the following date: 2022.

15.    The Plaintiff/Decedent purchased talcum powder product(s) in the following (State(s)):

                                                 Utah.

16.    Plaintiff/Decedent used the following talcum powder products:

       ☒ Johnson & Johnson’s Baby Powder

       ☐ Shower to Shower

                                      CAUSES OF ACTION

17.    Plaintiff(s) hereby adopt(s) and incorporate(s) by reference the Master Long Form

Complaint and Jury Demand as if fully set forth herein.

18.    The following claims and allegations asserted in the Master Long Form Complaint and

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Jury Demand are herein adopted by reference by Plaintiff(s):

       ☐      Count I: Products Liability – Strict Liability – Failure to Warn (Against Imerys
              Talc)

       ☒      Count II: Products Liability – Strict Liability – Failure to Warn (Against the
              Johnson & Johnson Defendants)

       ☐      Count III: Products Liability – Strict Liability – Defective Manufacturer and Design
              (Against Imerys Talc)

       ☒      Count IV: Products Liability – Strict Liability – Defective Manufacturer and Design
              (Against the Johnson & Johnson Defendants)

       ☒      Count V: Breach of Express Warranties (Against the Johnson & Johnson
              Defendants)

       ☒      Count VI: Breach of Implied Warranty of Merchantability (Against the Johnson &
              Johnson Defendants)

       ☒      Count VII: Breach of Implied Warranty of Fitness for a Particular Purpose (Against
              the Johnson & Johnson Defendants)

       ☐      Count VIII: Negligence (Against Imerys Talc)

       ☒      Count IX: Negligence (Against the Johnson & Johnson Defendants)

       ☐      Count X: Negligence (Against PCPC)

       ☒      Count XI: Negligent Misrepresentation (Against the Johnson & Johnson
              Defendants)

       ☒      Count XII: Fraud (Against the Johnson & Johnson Defendants)

       ☐      Count XIII: Fraud (Against PCPC)

       ☒      Count XIV: Violation of State Consumer Protection Laws of the State of New
              Jersey and Utah (Against the Johnson & Johnson Defendants).

       ☐      Count XV: Fraudulent Concealment (Against Imerys Talc)

       ☒      Count XVI: Fraudulent Concealment (Against the Johnson & Johnson Defendants)

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       ☐       Count XVII: Fraudulent Concealment (Against PCPC)

       ☒       Count XVIII: Civil Conspiracy (Against All Defendants)

       ☒       Count XIX: Loss of Consortium (Against All Defendants)

       ☒       Count XX: Punitive Damages (Against All Defendants)

       ☒       Count XXI: Discovery Rule and Tolling (Against All Defendants)

       ☐       Count XXII: Wrongful Death (Against All Defendants)

       ☐       Count XXIII: Survival Action (Against All Defendants)

       ☐       Furthermore, Plaintiff(s) assert(s) the following additional theories and/or State
               Causes of Action against Defendant(s) identified in Paragraph nine (9) above. If
               Plaintiff(s) includes additional theories of recovery, to the extent they require
               specificity in pleadings, the specific facts and allegations supporting these theories
               must be pled by Plaintiff(s) in a manner complying with the requirements of the
               Federal Rules of Civil Procedure.                       .

       WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against Defendants of

compensatory damages, punitive damages, interest, costs of suit, and such further relief as the

Court deems equitable and just, and as set forth in the Master Long Form Complaint as appropriate.




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                                       JURY DEMAND

      Plaintiff(s) hereby demand a trial by jury as to all claims in this action.

Dated: August 29, 2023
                                                     Respectfully Submitted by,

                                                     /s/ Lawrence R. Cohan
                                                     Lawrence R. Cohan, Esq.
                                                     Joshua C. Cohan, Esq.
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